                                                                                         3/16/2018

                        IN THE UNITED STATES DISTRICT COURT
                                                                                     S/J.Vasquez
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                               HARRISONBURG DIVISION

FREEDOM WATCH, INC.,                             )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )    Civil Action No. 5:17-cv-00104
                                                 )
RESPONSE UNLIMITED, INC., ET AL.,                )    By: Elizabeth K. Dillon
                                                 )        United States District Judge
        Defendants.                              )
                                                 )

                                            ORDER

       On March 16, 2018, the court held a hearing on the defendants’ motion to disqualify

Larry Klayman as counsel of record for the plaintiff. (Dkt. No. 49.) For the reasons stated on

the record, the motion is GRANTED. Mr. Klayman is to be terminated from the docket.

       The clerk is directed to provide a copy of this order to all counsel of record and to Mr.

Klayman.

       Entered: March 16, 2018.

                                             /s/ Elizabeth K. Dillon
                                             Elizabeth K. Dillon
                                             United States District Judge




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